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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

    SYNQOR INC.,

               Plaintiff,                       C. A. No. 2:14-cv-00287-RWS-CMC

         v.                                     JURY TRIAL DEMANDED

    VICOR CORPORATION,

               Defendant.


     DEFENDANT VICOR CORPORATION’S MOTION FOR SUMMARY JUDGMENT
     THAT CIRCUITS CONTAINING VICOR BUS CONVERTERS DO NOT INFRINGE
      THE ASSERTED SYNQOR PATENT CLAIMS AND REQUEST FOR HEARING
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           Reexaminations of SynQor’s patents by the USPTO have confirmed what Vicor has

    maintained: SynQor’s broadest patent claims are invalid, and the remaining claims include

    limitations that exclude Vicor’s bus converters (the “Accused Converters”). Prior to the stay in

    this case, Vicor fully briefed and argued a meritorious motion for summary judgment of no direct

    infringement that would have disposed of SynQor’s patent claims entirely. During the stay,

    Vicor’s summary judgment arguments have only grown stronger, as SynQor’s broadest patent

    claims were invalidated, and the surviving patent claims were further narrowed by binding

    statements SynQor made before the USPTO.

           Each of the surviving patent claims include two key limitations that SynQor relied upon

    during the reexaminations to distinguish prior art: (i) “each controlled rectifier being turned on and

    off in synchronization with the voltage waveform across a primary winding” (the “in

    synchronization” limitation); and (ii) “transition times which are short relative to the on-state and

    off-state times of the controlled rectifiers” (the “short transitions” limitation). Each of these

    limitations serves as an independent basis for finding non-infringement of all asserted claims.




                             The reasons for non-infringement raised here relate to purely legal issues

    regarding claim scope. These issues are therefore ripe for summary judgment and a hearing before

    the Court.

           First, none of the Accused Converters satisfy the “in synchronization” limitation. The

    Court’s construction for this limitation requires “each controlled rectifier being turned from on to

    off and from off to on at some point in the course of the change of the voltage waveform across a

    primary winding.” ECF No. 4 at 6 (emphasis added). Because this limitation is present in all



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    remaining claims, it alone is sufficient to resolve the entire infringement case.




                           SynQor offers nothing to the contrary: Its own expert, Dr. Leeb,1 currently

    asserts that Vicor CRs switch exactly on the boundary of the relevant time period, which could not

    meet the Court’s construction requiring CRs to switch “in the course” of the relevant period.

           This theory also represents a fundamental change: Dr. Leeb had initially taken the position

    that Vicor’s CRs switched at some point within the primary winding voltage transition period.

    However, in response to a showing that Dr. Leeb’s interpretation of his own test data was incorrect,



                       Dr. Leeb served a rebuttal infringement report taking the new positions that 1)

    it did not matter when each CR in the Accused Converters turned on and off; and 2) actual

    switching of the Vicor CRs occurs precisely coincident with the beginning and the end of the

    transition, i.e., at the “shoulders” of the primary winding voltage transitions.




    1
       On January 31, 2022, SynQor stated that Dr. Leeb has withdrawn from the case for “personal
    reasons.” Ex. 12 (Email from M. Hatcher to L. Brewer Jan. 31, 2022). At the February 2, 2022
    Status Conference, the Court stated that it would allow another expert to substitute in for Dr. Leeb
    only on the condition that any new expert must adopt all of Dr. Leeb’s opinions and testimony
    verbatim. Ex. 14 (Feb. 2, 2022 Hearing Tr.) at 23:11-28:25. Given the formal substitution has not
    yet occurred, this motion addresses SynQor’s expert’s opinions and testimony as “Dr. Leeb’s
    opinions” for the sake of simplicity and expediency, so that Vicor is not prejudiced by any delays
    associated with the substitution.
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           Figure 1 showing "at some point in the course of the change."

           Dr. Leeb’s first new theory violates the Court’s claim construction and should be rejected

    as a matter of law. The second new theory fails to raise any genuine issue of fact because, even if

    switching occurs as Dr. Leeb contends, it still



                                                                                             These issues

    stem from the legal question regarding the proper scope of the Court’s claim construction and are

    properly determined as a matter of law.

           Second, and independently, the “short transitions” limitation—a requirement of all

    remaining Asserted Claims—justifies summary judgment. This Court has already construed the

    “short transitions” limitation to require that “the sum of all transition times totals less than 20% of

    the overall on-state and off-state times of the controlled rectifiers.”2 ECF No. 4 at 20.



                 In fact, based on Dr. Leeb’s own testing,


    2
     The Court construed “transition times” to mean “time periods during which a change of a voltage
    waveform occurs across a primary winding.” ECF No. 4 at 20.



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                                                                                The only issue relating

    to these Accused Converters is whether SynQor can expand the scope of the claims using the

    doctrine of equivalents. It cannot, as a matter of law, for multiple reasons.

           SynQor’s doctrine of equivalents theory would improperly circumvent the express

    requirements of the Court’s claim construction. Additionally, SynQor’s theory would also allow

    it to improperly recapture subject matter that it already conceded to the Court was disclaimed by

    the patent specification and reexamination history. Finally, SynQor’s reliance on the doctrine of

    equivalents is further precluded by well-established principles of prosecution disclaimer because

    SynQor repeatedly argued during the reexaminations that 1) the claims were distinguishable from

    prior art that lacked short transitions, and 2) the broadest reasonable interpretation of “short

    transitions” required transitions be no longer than 20%. Consistent with this position, the Federal

    Circuit declined to invalidate the surviving claims of the ’190 patent on the basis of the “short

    transitions” limitation, while holding that other claims lacking this limitation were anticipated by

    the prior art. Thus, the Court should grant summary judgment that SynQor may not rely on the

    doctrine of equivalents for the “short transitions” limitation.

    I.     BACKGROUND

                   Technical Background

           The technology at issue in this case relates to DC-DC power converters which receive a

    direct current (“DC”) input at one voltage and generate a DC output at a different voltage. See,

    e.g., Ex. 1 (Habetler Rep. May 9, 2014) at ¶¶ 35-36. In general, DC-DC converters use a




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    “transformer” to convert electrical power from one voltage to another. Id. at ¶ 148. A transformer

    has “primary” and “secondary” windings linked together by a magnetic “core.” Id. ¶ 38. To avoid

    core saturation, voltage and current in the primary winding reverse polarity in each converter cycle.

    Id. at ¶ 41. This is known as alternating current (“AC”). Id. ¶ 36. Because input power to the

    Accused Converters is DC, that input must be converted to AC through the use of power switches

    that are connected to the primary winding and controlled to turn on and off at appropriate times.

    Id. ¶¶ 41. This switching operation causes the voltage across the primary winding of the

    transformer to switch back and forth between voltage states of opposite polarities. See “plateaus”

    in Figure 1 above.4 The time when the voltage is transitioning between those states is called the

    “transition time.” See, e.g., Ex. 3 (’190 patent) at 2:14-17.

           To convert AC back to DC, converters include transistor switches connected to the

    secondary winding that selectively block output current, so that it flows only in the desired

    (“forward,” or output) direction. Ex. 1 (Habetler Rep. May 9, 2014) at ¶ 42. These switches are

    called controlled rectifiers (“CRs”). Id. ¶¶ 42, 45.

                   The Asserted SynQor Claims

           The SynQor Patents in this case have been the subject of reexaminations that have

    significantly narrowed the issues in dispute. Post-reexamination, the only asserted patent claims

    that remain at issue are claims 2, 19, 28, and 31 of U.S. Patent 7,072,190 (“the ’190 patent”), and

    claims 55, 67, and 71 of U.S. Patent 7,564,702 (“the ’702 patent”) (together, the “Asserted Claims”

    of the “Asserted Patents”).5 All remaining Asserted Claims include limitations requiring specific


    4
      “Plateau” is the term used by Dr. Leeb to describe the voltage state of the primary winding voltage
    waveform before and after the change. See Ex. 2 (Leeb First Supp. Rep. May 2, 2014) at ¶ 238.
    5
       As discussed at the February 2, 2022 Status Conference, this motion does not address U.S.
    Patent No. 8,023,290 ("the '290 patent") due to SynQor’s statement in its Motion to Stay that it
    would agree to dismiss with prejudice the ‘290 patent in exchange for a lift of the stay and the
    setting of a prompt trial date (ECF No. 302 at 10), the Court’s acceptance of SynQor’s agreement
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    ways of controlling the turn on and turn off of the power switches and the CRs. Each of the

    Asserted Claims require two key limitations which are the focus of this motion.

           First, each of the Asserted Claims require that the CRs be turned on and off “in

    synchronization” with the transition of the primary winding voltage as it switches between high

    and low voltage states. Again, the Court has construed this “in synchronization” limitation to

    require “each controlled rectifier being turned from on to off and from off to on at some point in

    the course of the change of the voltage waveform across a primary winding.” ECF No. 4 at 6.

    SynQor argued during reexamination that the “in synchronization” feature was fundamental,

    enabling technology that distinguished both Asserted Patents over the prior art. See Ex. 4 (SynQor

    Response to Office Action (Control No. 90/014,041 for the ’702 patent)) at 113-14; Ex. 5 (SynQor

    Response to Office Action (Control No. 90/014,180 for the ’190 patent)) at 55-56.

           Second, each of the Asserted Claims also require that the claimed CRs transition between

    off and on states in a “short” amount of time. Specifically, the Asserted Claims require “transition

    times which are short relative to the on-state and off-state times of the controlled rectifiers.” The

    Court has construed this “short transitions” limitation to require “the sum of all transition times




    to dismiss the ‘290 patent with prejudice as a condition for lifting the stay (ECF No. 311 at n.
    11), and the parties’ agreement regarding the terms of the dismissal (Ex. 13 (Email from L.
    Brewer to M. Hatcher Dec. 9, 2021)). Based on SynQor’s clear written representations to the
    Court, Vicor expects the ‘290 patent to be dismissed immediately and does not agree with
    SynQor’s new argument to the Court on February 2, 2022 that it is appropriate to defer the
    dismissal to a later time. In the interests of judicial economy, Vicor would like to clarify for the
    Court that a decision in Vicor’s favor of no infringement based on the lack of an “in
    synchronization” limitation in the accused products would in any event be dispositive of the
    asserted claims of the ‘290 patent claims, all of which contain that same limitation. See, e.g.,
    ECF No. 102 at 16. However, Vicor understands from the Court’s guidance at the February 2,
    2022 Status Conference that the Court agrees that such a determination is unnecessary because
    SynQor should be held to its written representation that it would dismiss the ‘290 patent once it
    received a trial date, which has now occurred. See Ex. 14 (Feb. 2, 2022 Hearing Tr.) at 35:4-
    36:15.
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 totals less than 20% of the overall on-state and off-state times of the controlled rectifiers.” ECF

 No. 4 at 20. SynQor again argued during re-examination of the ’190 and ’702 patents that the

 “short transitions” limitation was another fundamental, enabling feature of the Asserted Patents

 that distinguished both over the prior art. See Ex. 4 (SynQor Response to Office Action (Control

 No. 90/014,041 for the ’702 patent)) at 138; Ex. 5 (SynQor Response to Office Action (Control

 No. 90/014,180 for the ’190 patent)) at 78-79.

                The Accused Vicor Bus Converters




                Statement of Undisputed Facts for Purposes of This Motion Only




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               Statement of Issues To Be Decided By The Court




 II.    LEGAL STANDARD

        Summary judgment is appropriate when there is no genuine issue of material fact. Fed. R.

 Civ. P. 56. “An issue of material fact is genuine if the evidence could lead a reasonable jury to

 find for the non-moving party.” Renhcol Inc. v. Don Best Sports, 548 F. Supp. 2d 356, 359 (E.D.

 Tex. 2008). “If the moving party has made an initial showing that there is no evidence to support

 the nonmoving party’s case, the party opposing the motion must assert competent summary

 judgment evidence of the existence of a genuine fact issue. … Mere conclusory allegations … are

 not competent summary judgment evidence.” Id. Rather, “the party opposing summary judgment

 is required to identify evidence in the record and articulate the manner in which that evidence
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 supports his claim.” Id. Patent infringement cases are amenable to summary judgment where the

 record fails to support the non-movant’s claims. E.g., Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321,

 1338 (Fed. Cir. 2010) (affirming summary judgment of non-infringement where plaintiff’s

 expert’s tests failed to establish claim limitation was met).

 III.   ARGUMENT



        Under a proper interpretation of the Court’s construction for “in synchronization,” Vicor

 is entitled to summary judgment that no Accused Converters infringe any Asserted Claim. The

 Court construed the “in synchronization” limitation to mean “each controlled rectifier being turned

 from on to off and from off to on at some point in the course of the change of the voltage

 waveform across a primary winding.” ECF No. 4 at 6 (emphasis added).




        The Court’s construction plainly requires a comparison between (i) the point in time at

 which each of the CR turns on or off; and (ii) the period of time during which the voltage

 waveform across the primary winding changes.




         SynQor’s theory fails as a matter of law.




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               1.



                       (a)     SynQor’s Constantly Changing Infringement Theories

        To distill the issue, the history of SynQor’s pre-stay infringement positions is instructive.



               The voltage on the “gate” terminal of a CR controls whether a CR is on or off.

 SynQor’s infringement expert, Dr. Leeb, examined the gate voltage waveforms of Vicor’s CRs in

 a Supplemental Opening Expert Report.




        However, as discussed in Vicor’s separately filed Daubert Motion, the MLP concept was

 manufactured by Dr. Leeb for purposes of this litigation—“Miller-like plateaus” do not exist in

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 scientific literature. See ECF. No. 103.




                                                        To this day, Dr. Habetler’s




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 test results have not been rebutted or disputed by contrary evidence.

         Dr. Leeb had the opportunity to submit a Rebuttal Infringement Report to respond to Dr.

 Habetler’s testing and opinions. But, Dr. Leeb did not dispute the factual assertions and findings

 of Dr. Habetler.                                                                     In its place, Dr.

 Leeb concocted a new theory using an unfounded claim interpretation and a reimagined

 interpretation of his original tests.




                According to Dr. Leeb’s new “process” theory: “As long as at least some part of the

 turn on (and turn off) process occurs during the course of the change of the voltage waveform

 across a primary winding, this claim language is satisfied.” Id.




         Thus, Dr. Leeb opined that it does not matter when each CR in the Accused Converters

 changes state to on or off, because the Court’s claim construction purportedly only required that

 the CRs are “being turned on” and “being turned off” during the transition periods of the primary

 winding. Id. at ¶¶ 2-3, 6-9. According to Dr. Leeb, so long as the voltage on the gates of a CR

 was rising or falling (i.e., the switching process was underway but the CRs had not yet turned on

 or off) at any point during the transition, the claim was satisfied. Id. ¶ 7. This reinterpretation of

 the Court’s claim construction drastically broadened the interpretation on which Dr. Leeb relied




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 in his Opening Report.



        Second, as a tacit acknowledgment of the weakness of this new “process” argument, Dr.

 Leeb offered a fallback opinion purporting to show infringement under the correct reading of the

 “in synchronization” limitation.      According to this new fallback position—the “shoulders”

 interpretation—

                                                                                                 Id. at ¶

 21. But, in order to opine on infringement under his “shoulders” theory, Dr. Leeb expands the

 Court’s language “in the course of the change” to include times at the boundary before the

 transition starts or after it ends. Specifically, Dr. Leeb’s theory turns on his counter-textual opinion

 that both the precise moment before the change begins, and the precise moment after the change

 concludes are somehow “in the course” of the change.

                        (b)     SynQor’s “Process” Infringement Theory Violates The Court’s
                                Claim Construction

        SynQor and Dr. Leeb’s infringement theory based on the “process” of turning on and off

 should be rejected as a matter of law, because it misinterprets the Court’s construction of the “in

 synchronization” limitation.



                                                                   This interpretation was the primary

 theory in Dr. Leeb’s Rebuttal Infringement Report, see Id. at ¶¶ 2-3, 6-9,



                                                                         The Court should reject this

 interpretation, as a matter of law, because it is inconsistent with the construction agreed to by the

 parties and adopted by the Court.


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        The agreed-upon construction requires “each controlled rectifier being turned from on to

 off and from off to on at some point in the course of the change of the voltage waveform across a

 primary winding.” ECF No. 4 at 38 (emphasis added). The text of this construction draws a clear

 connection between the specific moments in time when each controlled rectifier changes state from

 on to off or vice versa (i.e., “at some point”) and the transition period during which the voltage

 waveform across a primary winding is changing (i.e., “in the course of the change”). This

 construction plainly requires that the moments that the CRs change state from off to on and from

 on to off be “at some point” within the time period (i.e., “in the course”) that the primary voltage

 waveform is changing.

        SynQor and Dr. Leeb now argue that the Court’s construction merely refers to a “process”

 of CRs switching and that the claim will be satisfied if any part of the CR change from on to off

 or off to on occurs during the relevant period. In support, SynQor attempts to leverage language

 in the Court’s claim construction referring to the CRs “being” turned from on to off and from on

 to off. But, in context, the “being” language does not imply any “process” as SynQor and Dr. Leeb

 contend. Rather, use of the word “being” merely maintains parallelism with the verb tenses used

 throughout the rest of the claim. Compare Ex. 3 (’190 patent) at claim 1 (reciting “primary

 transformer winding circuit having . . .”; “secondary transformer winding circuit having . . .”;

 “having plural controlled rectifiers”). Accordingly, the “process” argument finds no support in the

 plain text of the Court’s claim construction.

        Indeed, the Court has already all but rejected SynQor’s misinterpretation of the “in

 synchronization” limitation. Prior to the stay, SynQor sought to exclude Dr. Habetler’s non-

 infringement opinions on the grounds that he improperly focused on the precise moment in time

 in which a CR switched relative to the change in the voltage waveform across the primary winding.



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 ECF No. 101 at 8-10. The Court denied this request and agreed that Vicor’s interpretation of the

 claim construction was “reasonable,” and that the “being” portion of the construction was just to

 maintain consistency with the verb tense in the rest of the claim. ECF No. 241 at 3-4. This

 reasoning properly rejected the very basis for SynQor’s “process” theory of infringement.

        Dr. Leeb’s new “process” theory also contradicts SynQor’s position before the USPTO

 during reexamination. There, SynQor used the “actual state change” interpretation of the claims

 (consistent with the Court’s intended construction) to distinguish the claims from the prior art. In

 a June 20, 2018 Response to Office Action in Reexamination No. 90/014,041 (concerning the ’702

 Patent), SynQor argued to the Examiner that to determine whether prior art CRs met the claims, it

 was necessary to consider the specific point in time at which they turn on and off, i.e. the moment

 they change state, relative to the time period of the change in the voltage waveform across the

 primary winding. SynQor argued that certain prior-art CRs turn off and on when “the gate voltage

 of the” rectifier was positive or negative relative to the source terminal, respectively. Ex. 4

 (SynQor Response to Office Action (Control No. 90/014,041 for the ’702 patent)) at 87-88.

 SynQor then argued that the CRs in the prior art did not satisfy the “in synchronization” limitation

 because they “would not transition to the appropriate ‘on’ or ‘off’ state” during the transition time

 of the waveform of the primary winding. Id. at 88.7 In other words, to distinguish the prior art,



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        SynQor also argued that the architecture of the prior art circuit, which is “voltage fed,” was
 fundamentally at odds with a circuit that performed “in synchronization” switching as claimed.
 Ex. 5 (SynQor Response to Office Action (Control No. 90/014,180 for the ’190 patent) at 40-41.
 SynQor argued that this architecture would create an “impossible stalemate”—a “Catch-22”—that
 would not allow the winding voltage to change, making the circuit inoperable.” Id. at 41.




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 SynQor emphasized the specific time that the CRs switched from on to off and from off to on—

 i.e., the moment the CRs change state. This reexamination position cannot be squared with

 SynQor’s new infringement theory. Given SynQor’s clear and unmistakable position regarding

 the scope of the “in synchronization” limitation in the reexamination (that the moment at which

 the CRs change state is the appropriate measure), SynQor cannot advance its novel broader

 “process” interpretation here.

        For all these reasons, SynQor’s “process” interpretation should be rejected as a matter of

 law. Summary judgment of non-infringement of the Accused Converters is warranted. See

 TechSearch, L.L.C. v. Intel Corp., 286 F.3d 1360, 1373-74 (Fed. Cir. 2002) (granting summary

 judgment where infringement analysis based on an errant interpretation of the claim construction).

                       (c)        Dr. Leeb’s Fallback “Shoulders” Theory of Infringement Also
                                  Fails As a Matter of Law

        Not only does SynQor’s “process” infringement theory violate the Court’s claim

 construction, but its fallback “shoulders” theory is also at odds with the Court’s construction and

 cannot support a finding of infringement.




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        Dr. Leeb’s new “shoulders” theory is factually irreconcilable with his former theory that

 the CRs turn off and on during the primary winding transition.




                                                         The Court would be justified in striking Dr.

 Leeb’s improper attempt to materially change his infringement theory in a rebuttal infringement

 report, and simply disregarding the “shoulders” theory. Belden Inc. v. Berk-Tek LLC, 805 F.3d

 1064, 1081–82 (Fed. Cir. 2015), quoting 28 Fed. Prac. & Proc. Evid. § 6164 (2d ed.) (2021)

 (“Rebuttal evidence is supposed to be limited to that which is responsive to the adversary's

 evidence: ‘the traditional principle [is] that evidence offered to rebut must accomplish the function

 of rebuttal; to explain, repel, counteract, or disprove the evidence of the adverse party.’”).




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        Even if not excluded, however, Dr. Leeb’s new “shoulders” argument violates the Court’s

 claim construction.

                                                                 But the Court’s construction plainly

 requires that each controlled rectifier turn on and off, at some point “in the course of the change”

 of the voltage waveform across a primary winding. The plain, ordinary, and intended meaning of

 the phrase “in the course of the change” is “during” or while the change in voltage across the

 primary winding is underway. “In the course of the change” covers the period of time when the

 primary voltage is changing, i.e., after the transition has begun, and before it completes. Any point

 in time before the voltage begins changing or after the voltage stops changing is simply not “in the

 course of the change.”




                                                                     Between these plateaus (during

 transition times), the voltage across the primary winding changes continuously from one plateau

 to the other, e.g. it changes from a positive plateau to a negative plateau, or vice versa. The result

 is that phrase “in the course of the change of the voltage” expressly excludes the voltage plateaus,

 including the so-called “shoulders”, i.e., moments demarcating the start and the end of the

 transition which cannot occur “in the course of the change.” See Figure 1, supra (noting

 shoulders). Accordingly, SynQor’s “shoulders” theory, which attempts to include times outside

 of the transition, should be rejected by the Court.8




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        Similar reasoning has been applied to similar phrases in other district courts (including in

 this District). See MacroPoint, LLC v. Ruiz Food Products, Inc., 2018 WL 887434, at *3-5 (E.D.

 Tex. 2018) (construing “within the telephone call” to mean “within the time period between the

 initiation of the telephone call by dialing a number and the termination of the call” and not to

 include preliminary signals that may be sent while the call is being connected); Vesture

 Corporation v. Thermal Solutions, Inc., 284 F Supp. 2d 290, 308 (M.D.N.C. 2003) (construing

 “during the course of heating” to mean “the time period after the induction heatable element of the

 food-holding container has begun heating . . . .”). Events at the boundaries of a transition are not

 events that occur “in the course” of the transition period.

        Even if the phrase “in the course of the change of the voltage” were interpreted to include

 the “shoulders,” Vicor is still entitled to summary judgment.




                                                                                               Such

 conclusory expert opinion regarding an accused device is not sufficient to create a genuine issue




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 of material fact regarding infringement at summary judgment. See Intellectual Sci. & Tech., Inc.

 v. Sony Elecs., Inc., 589 F.3d 1179, 1184-87 (Fed. Cir. 2009).




        Accordingly, the shoulders theory not only fails to satisfy the Court’s claim construction

 as a matter of law, it also fails to raise any genuine issue of fact to avoid summary judgment of no

 literal infringement.

                2.        SynQor’s Theory of Infringement Under the Doctrine of Equivalents Is
                          Incorrect as a Matter of Law

        SynQor’s fallback position, that the “in synchronization” limitation may be satisfied under

 the doctrine of equivalents, must be rejected as a matter of law because the infringement theory

 would vitiate the claim limitation. SynQor’s theory would also violate the Federal Circuit’s

 “dedication/disclosure” rule, which prevents a patentee from recapturing subject matter

 deliberately left unclaimed, as set out in Johnson & Johnson Associates Inc., v. R.E. Service Co.,

 285 F.3d 1046, 1054 (Fed. Cir. 2002).

        SynQor’s theory of equivalents is based on the assertion that actual switching outside of

 the transition, rather than “in the course” of the transition, would constitute an equivalent and

 therefore still infringe the Asserted Claims. This is wrong because it would vitiate entirely the “in

 synchronization” limitation. In essence, SynQor seeks to cover the opposite switching logic, i.e.,

 switching outside of, as opposed to within, the primary winding voltage transition. Vitiation is a

 question of law for the Court and turns on whether the proposed finding of an equivalent would

 render the limitation meaningless. See Freedman Seating Co. v. Am. Seating Co., 420 F.3d 1350,

 1358 (Fed. Cir. 2005).




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        In Freedman, the Federal Circuit reversed a district court’s finding of infringement based

 on the doctrine of equivalents because it vitiated a limitation of the patent claims. Id. at 1352. The

 patented technology in Freedman was a “stowable seat” used in public transportation. Id. The

 claim at issue required a support for the seat called a “slider crank” which was “slidably mounted”

 to the seatbase. Id. at 1354. The defendant’s implementation of a “stowable seat,” however, did

 not use a “slider crank” for support, but rather an extra set of “rotatably mounted” joints located

 in the midsection of the seat. Id. The Federal Circuit barred a finding of infringement under the

 doctrine of equivalents because it would entirely vitiate the “slidably mounted” limitation. Id. at

 1361. In support of their decision, the Court stated, “We think that this structural difference in the

 mounting of the moveable end to the seatbase is not a ‘subtle difference in degree,’ but rather, ‘a

 clear, substantial difference or difference in kind.’” Id.




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        SynQor’s theory of equivalents also fails as a matter of law because it violates the Federal

 Circuit’s “dedication/disclosure” rule. “[W]hen a patent drafter discloses but declines to claim

 subject matter, as in this case, this action dedicates that unclaimed subject matter to the public.

 Application of the doctrine of equivalents to recapture subject matter deliberately left unclaimed

 would ‘conflict with the primacy of the claims in defining the scope of the patentee’s exclusive

 right.’” Johnson, 285 F.3d at 1054. Here, the specification explicitly discloses an alternative,

 unclaimed, design where turn-on and turn-off of the controlled rectifier is intentionally set to occur

 outside of the transition. Ex. 3 (’190 patent) at 14:13-30.

        SynQor has argued that the disclosure-dedication rule does not bar application of the

 doctrine of equivalents because the unclaimed embodiment is not “specifically disclosed as an

 alternative to the ‘in synchronization’ limitation.” ECF No. 122 at 16-17. Not true. In prior

 litigation, SynQor expressly acknowledged that the column 14 embodiment teaches an alternative

 to turning the CRs on and off during the transitions, namely to do so “at times other than when the

 primary winding voltage transitions.” No. 2:07-cv-497, ECF No. 416 at 21. Thus, the embodiment

 at column 14, describing CR switching other than during the primary winding transition, is clearly

 an unclaimed embodiment which had been dedicated to the public. As a matter of law, SynQor

 cannot “recapture” this embodiment under the doctrine of equivalents.



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                                    The “short transitions” limitation reads “transition times which

 are short relative to the on-state and off-state times of the controlled rectifiers,” which the Court

 construed to mean “the sum of all transition times totals less than 20% of the overall on-state and

 off-state times of the controlled rectifiers.” ECF No. 4 at 20.




                1.      SynQor’s Doctrine of Equivalents Theory Would Vitiate The Express
                        Claim Requirement

        SynQor’s theory of equivalents is incorrect as a matter of law because it would entirely

 vitiate the “short transitions” limitation. The Federal Circuit has made clear that when a claim

 term is limited in measure, the term is not entitled to an extended scope of equivalents


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 encompassing measures beyond what is prescribed in the claim. Moore v. Standard Register, 229

 F.3d 1091 (Fed. Cir. 2000), is highly instructive. In Moore, Moore argued that longitudinal strips

 on Standard Register’s forms which extended but “a minority of the length of its longitudinal

 margins” were equivalent to Moore’s claimed strips which extend a “majority of the length” of the

 longitudinal margins. Id. at 1105. Moore argued there was a genuine issue of material fact as to

 whether longitudinal strips that extended about 48% of the length are insubstantially different from

 strips that extended 50.001% of the length. Id. at 1106. The Federal Circuit found that the use of

 the term “majority” was not entitled to a scope of equivalents covering a “minority” for two

 reasons: 1) to allow what is indisputably a minority (i.e., 47.8%) be equivalent to a majority would

 vitiate the ‘majority’ and the limitation would not be necessary and 2) it would defy logic to

 conclude that a minority—the opposite of a majority—is insubstantially different from a claim

 limitation requiring a majority. Id.

        The Court’s reasoning in Moore precludes extending the scope of equivalents in this case.

 The Court’s Claim Construction Order makes clear that the “short transitions” limitation requires

 that the sum of all transition times be less than 20% of the overall on-state and off-state times of

 the controlled rectifiers. ECF No. 4 at 20.




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                2.      SynQor Already Admitted During Claim Construction Proceedings That
                        The Patentee Expressly Disclaimed CRs With Transitions Longer Than
                        20% And They Cannot Be Recaptured Through DOE

        Even if SynQor’s doctrine of equivalents theory did not vitiate the “short transitions”

 limitation, the Court should still preclude the theory because the doctrine of equivalents cannot be

 used to recapture material that is expressly disclaimed by the patentee.

        SynQor has already conceded that disclaimer applies here. During claim construction,

 Vicor took the position that statements in the specification, as well as SynQor’s arguments in

 earlier reexaminations, constituted a clear and unmistakable disclaimer of all “resonant

 converters.”9 No. 2:11-cv-54, ECF No. 280 at 5-9. SynQor, however, argued to the Court that the

 patents’ specification and SynQor’s prior prosecution arguments did not disclaim all resonant

 converters, but merely disclaimed those resonant converters with transition times longer than 20%.

 In SynQor’s words:

        SynQor did not distinguish all resonant converters. As Defendants do not dispute,
        the references SynQor was distinguishing. . . did not disclose transition times in the
        primary winding voltage waveform of less than 20% of the switching cycle, which
        is required for transitions to be “short” under both side’s constructions.

 2:11-cv-54, ECF No. 285, at 6 (emphasis original). The Court accepted this argument, ruling that

 “the passages together are indicative that converters which fail the 20% limitation are what was

 being excluded,” and further stated the “natural reading of the prosecution history and the

 specification is that the 20% limitation was the point of distinction relied upon.” 2:11-cv-54, ECF

 No. 306, at 20. Thus, in order to avoid a disclaimer of all resonant converters, SynQor was forced

 to admit disclaimer applied at least as to converters that exceed 20% transition times.




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        SynQor’s doctrine of equivalents theory now improperly attempts to recapture what it

 previously admitted to the Court was disclaimed. The Federal Circuit has held that where the

 patentee specifically disclaims subject matter, that subject matter cannot be re-captured through

 the doctrine of equivalents. David Netzer Consulting Eng'r LLC v. Shell Oil Co., 824 F.3d 989,

 998 (Fed. Cir. 2016). In Netzer, the Federal Circuit found that the patentee repeatedly disclaimed

 conventional extraction from its fractionation process, both in the patent’s specification and

 prosecution history, and barred infringement based on the doctrine of equivalents. Id. at 996. In

 its summary judgment order, the district court construed “fractionation” to explicitly exclude

 conventional extraction because the prosecution history contained statements by the patentee

 asserting that the patented process was “particularly useful” for producing a product that need not

 have a purity over 99 wt %—a purity that conventional extraction would produce. Id. at 996. The

 district court further found that the patent’s specification distinguished conventional extraction as

 expensive and not required due to a shift in market demand. Id. at 995. With that construction in

 mind, the district court found, and the Federal Circuit affirmed, that the patentee disclaimed

 conventional extraction and barred a finding of literal infringement as well as infringement under

 the doctrine of equivalents. Id. at 998 (“The disclaimer of the [conventional extraction] process

 for literal infringement applies equally to infringement under the doctrine of equivalents.”).




                                 After SynQor repeatedly emphasized the novelty of the “short

 transitions” limitation, which it defined as less than 20%, to avoid disclaimer of all resonant

 converters, this Court construed “short transitions” to exclude converters which fail the 20%



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 limitation based on the Asserted Patents’ specification and prosecution history. Consequently, in

 accordance with Netzer, SynQor may not invoke the doctrine of equivalents to recapture subject

 matter they were found to disclaim above the 20% limitation.

                3.     SynQor Also Emphasized “Short Transitions” As A Point Of Novelty To
                       Avoid Invalidation In the Subsequent Reexaminations After The Court’s
                       Construction Issued

        To the extent its statements at claim construction are not already dispositive, SynQor left

 no doubt that it disclaimed transitions greater than 20% during the subsequent reexamination

 proceedings. Throughout the reexaminations since claim construction, SynQor repeatedly relied

 on “short transitions”—as construed by this Court—to distinguish prior art and avoid invalidation

 by the Federal Circuit and the USPTO. SynQor repeatedly emphasized “short transitions” of less

 than 20% as a purported point of novelty for both the ’190 and ’702 patents over the prior art. For

 example, SynQor made each of the following arguments to the USPTO:

       The broadest reasonable interpretation of “transition times which are short relative
        to the on state and the of-state times” consistent with the specification is what is
        explicitly disclosed in the specification and adopted by the U.S. District Court in
        the related litigation - less than 20% of the time is taken up by the transition. Ex.
        10 (SynQor Response to Office Action (Control No. 95/001,853 for the ’702
        patent)) at 56. (emphasis added)

       “Third, the [prior art] drawings have no scale; [the prior art] lacks any numerical
        analysis that can be identified as ‘less than 20%’, regardless of where or how it
        might be measured.” Ex. 11 (SynQor Appeal Brief (Control No. 95/001,207 for
        the ’190 patent)) at 56 (emphasis added).

       “[The prior art] drawings do not illustrate the claimed element, nor does [it]. . .
        meaningfully disclose the claim element: ‘transition times which are less than
        20% of overall on-state and off-state times of the controlled rectifiers.’” ('190
        Patent, col. 8, lines 11-19). Id. at 62 (emphasis added).

        In fact, in one reexamination appeal, the Federal Circuit invalidated the broader claims of

 the ’190 patent that did not include the “short transitions” limitation as being anticipated by the

 prior art. See Vicor Corp. v. SynQor, Inc., 603 Fed. Appx. 969, 974-75 (Fed. Cir. 2015). After


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 the Court’s finding, SynQor was forced in a later reexamination proceeding to emphasize the

 “short transitions” limitation as a purported point of novelty going forward for both the ’190 and

 ’702 patents:

       “It should be noted that. . . the ’702 patent claims at issue in the SynQor I trial and
        at issue here include limitations that are not included in the ’190 patent claims found
        anticipated by the CAFC in the Vicor ’190 reexamination appeal, including short
        transitions in the primary winding voltage waveform[.]” Ex. 4 (SynQor Response
        to Office Action (Control No. 90/014,041 for the ’702 patent) at 138

       “[T]he ’702 claims at-issue in SynQor I -- and, in fact, all of the ’702 patent claims
        at issue in this Reexam. . . differ significantly from the anticipated ’190 claims
        because they require. . . short transitions in the primary winding voltage
        waveform.” Id. at 161.

        SynQor went even further and repeatedly tied the alleged positive reception of SynQor’s

 own “Unregulated IBA” products to the “short transitions” limitations in both patents, for example:

       “An engineer at National Semiconductor described Unregulated IBA (with short
        transitions and switching regulators (POLs)) as ‘a revolution in the distributed-
        power architecture’ that was a ‘fundamental change’ from earlier designs.”

       “Similarly, a professor at Virginia Polytechnic described Unregulated IBA (with
        short transitions and switching regulators (multiphase buck converters)) as ‘one of
        the hottest products’ for server, telecom, and network applications.”

 Ex. 4 (SynQor Response to Office Action (Control No. 90/014,041 for the ’702 patent) at 153-

 154, 155; Ex. 5 (SynQor Response to Office Action (Control No. 90/014,180 for the ’190 patent)

 at 100, 102 (emphases added).

        SynQor’s emphasis on the “short transitions” limitation should bar its reliance on the

 doctrine of equivalents here. “Prosecution history estoppel applies as part of an infringement

 analysis to prevent a patentee from using the doctrine of equivalents to recapture subject matter

 surrendered from the literal scope of a claim during prosecution.” Amgen Inc. v. Coherus

 BioSciences Inc., 931 F.3d 1154, 1159 (Fed. Cir. 2019). Prosecution history estoppel can arise

 equally either during the initial prosecution of a patent, or during reexamination. See Festo Corp.


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 v. Shoketsu Kinzoku Kogyo Kabushiki Co., Ltd., 344 F.3d 1359, 1364 (Fed. Cir. 2003). Further,

 argument-based estoppel applies where the patentee evinced a clear and unmistakable surrender

 of subject matter. See Conoco, Inc. v. Energy & Env't Int'l, L.C., 460 F.3d 1349, 1364 (Fed. Cir.

 2006). “The relevant inquiry is whether a competitor would reasonably believe that the applicant

 had surrendered the relevant subject matter.” Id.

        The relevant authority supports finding estoppel here.          In Amgen Inc. v. Coherus

 BioSciences Inc., for example, a Court found that argument-based prosecution history estoppel

 applied where Amgen, the patentee, repeatedly distinguished the limitations in its patent to

 overcome prior art by stating it did not teach the “particular combinations of salts” recited in the

 patented claims. 931 F.3d at 1160. Amgen highlighted its patented salt combination as more time

 and cost-efficient and never mentioned combinations other than those claimed. Id. Amgen then

 sought to enforce the limitations in the prior art under the doctrine of equivalents stating that the

 prior art was distinguished on the basis that it failed to disclose efficiencies or any salt

 combinations at all. Id. The Court found that a competitor would reasonably believe that Amgen

 surrendered the unclaimed salt combinations and applied argument-based estoppel to prevent

 Amgen from asserting doctrine of equivalents on this limitation. Id.

        The holding of Amgen directly applies to bar SynQor’s flawed infringement theory. Here,

 SynQor never mentions transition times other than those it claims. There are at least six instances

 during prosecution where SynQor unmistakably distinguished prior art by highlighting the 20%

 transition cutoff, thereby longer disclaiming transition times. A competitor would reasonably

 believe that SynQor surrendered transitions longer than 20% of the CR cycle. As such, SynQor

 should be prevented from using the doctrine of equivalents to recapture subject matter surrendered

 from the literal scope of the claims during reexamination.



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 IV.   CONCLUSION

       For the above stated reasons, the Court should GRANT this motion.




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 Dated: February 4, 2022                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        Pursuant to Local Rule CV-5(c), the undersigned hereby certifies that all counsel of record

 who have consented to electronic service are being served with a copy of this document via ECF

 on February 4, 2022.

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